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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 JESSICA A. TWARDOWSKI,

      Plaintiff,

 v.                                                       Case No.    1:20-cv-04285

 CREDIT MANAGEMENT, L.P.,

      Defendant.

                                             COMPLAINT

        NOW COMES Plaintiff, JESSICA A. TWARDOWSKI, through undersigned counsel,

complaining of Defendant, CREDIT MANAGEMENT, L.P., as follows:

                                     NATURE OF THE ACTION

        1.         This action is seeking redress for Defendant’s violation(s) of the Fair Debt

Collection Practices Act (the “FDCPA”), 15 U.S.C. § 1692 et seq.

                                    JURISDICTION AND VENUE

        2.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

        3.         Venue in this district is proper under 28 U.S.C. § 1391(b)(2).

                                               PARTIES

        4.         JESSICA A. TWARDOWSKI (“Plaintiff”) is a natural person, over 18-years-of-

age, who at all times relevant resided at 224 Gettysburg Drive, Bolingbrook, Illinois 60440.

        5.         Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

        6.         CREDIT MANAGEMENT, L.P. (“Defendant”) is a limited partnership organized

and existing under the laws of the State of Nevada.



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         7.     Defendant has its principal place of business at 6080 Tennyson Parkway, Suite 100,

Plano, Texas 75024.

         8.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

         9.     Defendant uses instrumentalities of interstate commerce and the mail in its business

– the principal purpose of which is the collection of debt owed or due or asserted to be owed or

due another.

                                  FACTUAL ALLEGATIONS

         10.    Plaintiff purchased prescription medications through AllianceRX Walgreens

Prime, a specialty and home delivery pharmacy.

         11.    As result of financial hardship, however, Plaintiff was not able to pay her $165.00

account balance.

         12.    Plaintiff's $165.00 account balance is a "debt" as defined by 15 U.S.C. § 1692a(6).

         13.    On February 18, 2020, Plaintiff filed a voluntary petition for relief under Chapter

7, Title 11, United States Code (the “Bankruptcy Code”).

         14.    The schedules filed by Plaintiff included Plaintiff's AllianceRX Walgreens Prime

account on Schedules E/F: Creditors Who Have Unsecured Claims.

         15.    On February 21, 2020, the Bankruptcy Noticing Center issued a Certificate of

Notice, certifying, under penalty of perjury, that it sent Notice of Chapter 13 Bankruptcy Case by

first class mail or electronic transmission to Plaintiff’s creditors, including AllianceRX Walgreens

Prime.

         16.    Subsequently, Plaintiff's AllianceRX Walgreens Prime account was referred for

collection.

         17.    Defendant mailed Plaintiff a letter dated July 1, 2020, which stated:

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               Your account(s) has been placed for collection and payment in full is due. The below listed
               account(s) has been turned over to us by our client, who has given you an opportunity to
               satisfy this obligation. You can avoid continued collection activities by sending your
               payment in full directly to Capital Management, L.P.

               If multiple accounts for the same creditor are listed below, you have a right to dispute part
               of all of any of the accounts.

               Notice: Unless you notify this office within 30 days after receiving this notice that you
               dispute the validity of this debt or any portion thereof, this office will assume this debt is
               valid. If you notify this office in writing within 30 days from receiving this notice that you
               dispute the validity of this debt or any portion thereof, this office will obtain verification
               of the debt or obtain a copy of a judgment and mail you a copy of such judgment or
               verification. If you request this office in writing within 30 days after receiving this notice,
               this office will provide you with the name and address of the original creditor, if different
               from the current creditor.

                                                            ***

               This communication is from a debt collector. This is an attempt to collect a debt and any
               information obtained will be used for that purpose.

                                                            ***

                Creditor                                          Account Number        Amount
                ALLIANCE_RX WALGREENS PRIME                       3363249               165.00
                TOTAL                                                                   165.00


                                                 DAMAGES

       18.     The automatic stay is one of the fundamental debtor protections provided by the

bankruptcy laws. It gives the debtor a breathing spell from her creditors. It stops all collection

efforts, all harassment, and all foreclosure actions. It permits the debtor to attempt a repayment or

reorganization plan, or simply to be relieved of the pressures that drove her into bankruptcy.

       19.     Defendant's unlawful conduct deprived Plaintiff of one of her fundamental rights

and led Plaintiff to believe her bankruptcy was for naught, causing anxiety and emotional distress.

       20.     Concerned with having had her rights violated, Plaintiff was forced to retain

counsel; therefore, expending time and incurring attorney’s fees to vindicate her rights.




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                                       CLAIMS FOR RELIEF

                                           COUNT I:
                       Defendant’s violation(s) of 15 U.S.C. § 1692 et seq.

       21.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

                                   Violation of 15 U.S.C. § 1692e

       22.     Section 1692e provides:

               A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any debt.
               Without limiting the general application of the foregoing, the following
               conduct is a violation of this section.

               (2)     The false representation of –

                       (A)       the character, amount, or legal status of any debt.

               (10)    The use of any false representation or deceptive means to collect or
                       attempt to collect any debt or to obtain information concerning a
                       consumer.

       23.     Defendant's July 1, 2020 letter to Plaintiff asserted that Plaintiff’s debt to Alliance

RX Walgreens Prime was due and demanded that Plaintiff pay the debt.

       24.     But at the time of Defendant's July 1, 2020 letter, Plaintiff’s debt to AllianceRX

Walgreens Prime was not due because that debt had been included in Plaintiff's Chapter 7

bankruptcy.

       25.     It seems clear, then, that Defendant's July 1, 2020 letter misrepresented the legal

status of Plaintiff’s debt to AllianceRX Walgreens Prime in violation of 15 U.S.C. §§ 1692e(2)(A)

and e(10). See Randolph v. IMBS, Inc., 368 F.3d 726, 728 (7th Cir. 2004) (“[A] demand for

immediate payment while a debtor is in bankruptcy (or after the debt’s discharge) is ‘false’ in the



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sense that it asserts that money is due, although, because of the automatic stay (or discharge

injunction), it is not.”

                                     Violation of 15 U.S.C. § 1692f

        26.     Section 1692f provides:

                A debt collector may not use unfair or unconscionable means to collect or
                attempt to collect any debt. Without limiting the general application of the
                foregoing, the following conduct is a violation of this section:

                (1)        The collection of any amount (including any interest, fee, charge, or
                           expense incidental to the principal obligation) unless such amount
                           is expressly authorized by the agreement creating the debt or
                           permitted by law.
        27.     The filing of a bankruptcy petition automatically stays “the commencement or

continuation, including the issuance or employment of process, of a judicial, administrative, or

other action or proceeding against the debtor that was or could have been commenced before the

commencement of the case under this title, or to recover a claim against the debtor that arose before

the commencement of the case under this title. 11 U.S.C. § 362(a)(1).

        28.     Defendant violated 15 U.S.C. § 1692f(1) by attempting to collect debt (Plaintiff's

to AllianceRX Walgreens Prime account) not permitted by law - 11 U.S.C. § 362(a)(1).

        29.     Plaintiff may enforce the provisions of 15 U.S.C. §§ 1692e(2)(A), e(10), and f(1)

pursuant to section k of the Fair Debt Collection Practices Act (15 U.S.C. § 1692k) which provides

"any debt collector who fails to comply with any provision of [the Fair Debt Collection Practices

Act] with respect to any person is liable to such person in an amount equal to the sum of –

        (1)     any actual damage sustained by such person as a result of such failure;

        (2)

                (A)        in the case of any action by an individual, such additional damages
                           as the court may allow, but not exceeding $1,000.00; or

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        (3)     in the case of any successful action to enforce the foregoing liability, the
                costs of the action, together with reasonable attorney's fees as determined
                by the court.

        WHEREFORE, Plaintiff requests the following relief:

        A.      find that Defendant violated 15 U.S.C. §§ 1692e(2)(A), e(10), and f(1);

        B.      award any actual damage sustained by Plaintiff as a result of Defendant’s violation

                pursuant to 15 U.S.C. § 1692k(a)(1);

        C.      award such additional damages, as the Court may allow, but not exceeding $1,000

                pursuant to 15 U.S.C. § 1692k(a)(2)(A);

        D.      award costs of this action including expenses together with reasonable attorneys’

                fees as determined by this Court pursuant to 15 U.S.C. § 1692k(a)(3); and

        E.      award such other relief as this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in

this action so triable of right.

 DATED: July 21, 2020                                 Respectfully submitted,

                                                      JESSICA A. TWARDOWSKI

                                                      By: /s/ Joseph S. Davidson

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